    Case 1:18-cv-00068 Document 344 Filed in TXSD on 12/03/18 Page 1 of 4



                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          BROWNSVILLE DIVISION

                                                    )
 STATE OF TEXAS, ET AL.;                            )
                                                    )
                                        Plaintiffs, )
                                                    )
 vs.                                                )      Case No. 1:18-cv-00068
                                                    )
 UNITED STATES OF AMERICA, ET AL.;                  )
                                                    )
                                      Defendants, )
                                                    )
 And                                                )
                                                    )
 KARLA PEREZ, ET AL.;                               )
                                                    )
 STATE OF NEW JERSEY,                               )
                                                    )
                            Defendant-Intervenors. )

        PLAINTIFF STATES’ UNOPPOSED MOTION TO WITHDRAW
                    ADAM N. BITTER AS COUNSEL

      Pursuant to Local Rule 83.2, Plaintiff States file this Unopposed Motion to

Withdraw Adam N. Bitter as Counsel. In support of this motion, Plaintiff States offer

the following:

      1.     Assistant Attorney General Adam N. Bitter is currently designated as a

counsel of record for Plaintiff States.

      2.     Mr. Bitter has recently accepted a position outside the Office of the

Attorney General of Texas, effective December 5, 2018. As a result, Mr. Bitter seeks

to withdraw as an attorney of record in this case.



                                          1
    Case 1:18-cv-00068 Document 344 Filed in TXSD on 12/03/18 Page 2 of 4



        3.   Plaintiff States will continue to be represented by lead counsel Todd

Lawrence Disher along with co-counsel listed below.

        4.   This withdrawal will not delay any proceedings.

        5.   For the reasons stated above, Plaintiff States respectfully request that

the Court grant this motion to withdraw Adam N. Bitter as counsel for Plaintiff

States and remove Mr. Bitter from all further electronic notifications regarding this

case.




                                         2
   Case 1:18-cv-00068 Document 344 Filed in TXSD on 12/03/18 Page 3 of 4



December 3, 2018                     Respectfully submitted.

STEVE MARSHALL                       KEN PAXTON
Attorney General of Alabama          Attorney General of Texas

LESLIE RUTLEDGE                      JEFFREY C. MATEER
Attorney General of Arkansas         First Assistant Attorney General

JEFF LANDRY                          BRANTLEY STARR
Attorney General of Louisiana        Deputy First Assistant Attorney General

DOUGLAS J. PETERSON                  DARREN L. MCCARTY
Attorney General of Nebraska         Deputy Attorney General for Civil Litigation

ALAN WILSON                          TODD LAWRENCE DISHER
Attorney General of South Carolina   Attorney-in-Charge
                                     Special Counsel for Civil Litigation
PATRICK MORRISEY
Attorney General of West Virginia    ADAM ARTHUR BIGGS
                                     Assistant Attorney General

                                     /s/ Adam N. Bitter____
                                     ADAM N. BITTER
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                                     General Litigation Division
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                                     COUNSEL FOR PLAINTIFF STATES




                                     3
    Case 1:18-cv-00068 Document 344 Filed in TXSD on 12/03/18 Page 4 of 4



                       CERTIFICATE OF CONFERENCE

       I certify that on November 29, 2018, I conferred via e-mail with counsel for
Federal Defendants, Perez Defendant-Intervenors, and New Jersey regarding the
relief sought in this Motion. Counsel for Federal Defendants, Perez Defendant-
Intervenors, and New Jersey indicated that they did not oppose the requested relief.

                                           /s/ Adam N. Bitter___
                                           ADAM N. BITTER
                                           Assistant Attorney General

                                           COUNSEL FOR PLAINTIFF STATES




                          CERTIFICATE OF SERVICE

        I certify that on December 3, 2018, this document was electronically filed with
the Clerk of the Court using the CM/ECF system, which will send notification of such
filing to all counsel of record.

                                           /s/ Adam N. Bitter____
                                           ADAM N. BITTER
                                           Assistant Attorney General

                                           COUNSEL FOR PLAINTIFF STATES




                                          4
